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                 Exhibit A
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA, ET AL.,

                       Plaintiffs,

                      v.                                  Civil Action No. 1:21-cv-11558-LTS
  AMERICAN AIRLINES GROUP INC. and
  JETBLUE AIRWAYS CORPORATION,

                       Defendants.



 AMERICAN AIRLINES GROUP INC. AND JETBLUE AIRWAYS CORPORATION’S
          RESPONSE TO PLAINTIFFS’ MOTION FOR ENTRY OF
           FINAL JUDGMENT AND PERMANENT INJUNCTION

       Plaintiffs’ motion proceeds as if this case involved a secret price-fixing conspiracy and

relies extensively on decades-old cases speaking to a court’s powers in such circumstances. But

that is not reality. Defendants proactively approached the Department of Justice (DOJ) and

Department of Transportation (DOT) about the Northeast Alliance (NEA) in July 2020, months

before implementation of the NEA. Defendants engaged with both agencies in good faith,

providing documents, data, and depositions in response to government requests, and made multiple

amendments to the NEA in connection with DOT’s review. See Dkt. 344 (Findings of Fact and

Conclusions of Law) at 26-28. By contrast, DOJ investigated for over a year before filing suit and

never sought a preliminary injunction—allowing the NEA to go into effect and begin serving

customers. Now, Plaintiffs seek to wield the Court’s judgment as a cudgel to invalidate other

common and procompetitive agreements, at the expense of consumers, without even giving

Defendants an opportunity to revise those agreements in line with Plaintiffs’ own proposed notice

procedures. Requiring termination of the frequent flyer agreement would have particularly

perverse effects here given the requirement of the Revised Proposed Final Judgment (RPFJ) to
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“honor the rewards accrued” by Defendants’ frequent flyer members. Dkt. 358-1 (RPFG) at III.F.

Defendants of course want to do that—but cannot if the frequent flyer agreement is terminated in

the manner DOJ demands.          Plaintiffs further seek to ban Defendants from entering into

partnerships with other airlines for two full years regardless of their effects on competition, to

impose an unprecedented five-year monitorship, and to construct significant barriers to routine

transactions that will severely constrain Defendants’ ability to operate in the marketplace.

Defendants’ proposal respects the Court’s judgment and affords Plaintiffs complete relief.

Plaintiffs’ proposed injunction, by contrast, is a drastic overreach.

                                           ARGUMENT

I.     DEFENDANTS SHOULD BE ALLOWED TO CONTINUE CODESHARING AND
       RECIPROCAL FREQUENT FLYER RECOGNITION WHILE NEGOTIATING
       AND EXECUTING NEW STANDALONE AGREEMENTS.

       Plaintiffs’ RPFJ would require Defendants to eliminate existing codesharing and frequent

flyer agreements before new ones could be put in place. Plaintiffs’ primary argument for

invalidating the existing agreements is that this Court should not be forced to determine their

legality “in a matter of days.” Dkt. 353 (Plaintiffs’ Motion for Entry of Final Judgment and

Permanent Injunction) at 8; Dkt. 358 (Plaintiffs’ Response to Defendants’ Motion for Entry of

Final Judgment and Permanent Injunction) at 3. Defendants agree. But as Plaintiffs implicitly

concede, that means this Court has not found that the codeshare and frequent flyer agreements are

unlawful.1 It is thus Plaintiffs’ proposal that requires this Court to determine “in a matter of days,”

Dkt. 353 at 8, that these agreements constitute “illegal conduct” or the “effects” thereof. Ford




1
  Indeed, even now, the most Plaintiffs can say about these agreements is the halfhearted and vague
contention that the “record . . . does not support the conclusion that [they] are competitively
innocuous,” Dkt. 353 at 9—a far cry from the showing required to support an antitrust injunction.
See United States v. Microsoft Corp., 253 F.3d 34, 105 (D.C. Cir. 2001).
                                                  2
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Motor Co. v. United States, 405 U.S. 562, 573 n.8 (1972) (citations omitted). And Plaintiffs have

not even tried to satisfy their burden of showing “a significant causal connection” between these

agreements and harm to competition. United States v. Microsoft Corp., 253 F.3d 34, 105 (D.C.

Cir. 2001) (citation omitted). This Court should not take the extreme step of enjoining them

without the necessary review.

       Defendants propose a reasonable middle ground. Although Defendants strongly believe

that their existing codesharing and frequent flyer agreements are lawful (and no court has held

otherwise, cf. Dkt. 344 at 41 n.56, 90 n.112, 91), Defendants request that, at a minimum, the Court

leave the existing agreements in place for 120 days while Defendants adopt new and revised

agreements under Plaintiffs’ proposed notice procedures. See Dkt. 354-1 (Defendants’ Proposed

Changes to Plaintiffs’ Proposed Final Judgment) at 3. Because those notice procedures allow

Plaintiffs to delay implementation of any new agreement for at least 90 days in order to conduct

their own review of that agreement, a 120-day period is the minimum amount of time necessary to

ensure that there is a seamless transition for customers from the NEA to any new agreement.

Plaintiffs’ proposal, by contrast, effectively ensures that there will be a gap in codeshare and

frequent flyer continuity, even if DOJ ultimately approves a new arrangement.

       Tellingly, Plaintiffs identify no harm to competition or consumers in allowing the existing

programs to continue during this transition period.2 By contrast, there is the potential for disruption

and consumer harm resulting from the termination of the agreements before those agreements




2
  At most, Plaintiffs claim that it would be wrong to let Defendants “to continue to benefit” from
codesharing, Dkt. 358 at 2, but an injunction must be tailored to the market harm identified, and
not simply designed to “punish[]” Defendants for their alleged misconduct. Int’l Salt Co. v. United
States, 332 U.S. 392, 401 (1947), abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink,
Inc., 547 U.S. 28 (2006). Plaintiffs’ argument just highlights that there is no harm to competition
or consumers in allowing a short delay in implementation here.
                                                 3
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could be replaced. Customers who have not yet purchased their tickets will lose access to scores

of nonstop flight options and the ability to mix-and-match American and JetBlue flights to create

hundreds of convenient one-stop connections. Exhibit B (S. Montgomery Decl.) ¶ 11. The loss

of these nonstop options will make travel significantly less convenient, resulting in increases to

travel times of 90-142 percent on average. Id. ¶¶ 12-13. And because customers have come to

expect reciprocal recognition of their frequent flyer status across Defendants’ flights, invalidating

the existing agreements is likely to cause customer confusion. Id. ¶ 15.

       Moreover, while Defendants agree that previously purchased tickets and their

accompanying frequent flyer rewards should be honored, see Dkt. 358-1 at III.E-F, it is not

technologically possible for Defendants to do so for flights purchased prior to the Frequent Flyer

Cutoff Date but flown after. Exhibit B ¶ 14; Exhibit C (D. Fintzen Decl.) ¶¶ 4-5. Defendants’

systems award frequent flyer points on the date of the flight, not the date of purchase. Exhibit B

¶ 14; Exhibit C ¶¶ 4-5.     Therefore, Defendants cannot distinguish between customers who

purchased their flights before the Frequent Flyer Cutoff Date and those who purchased them after.

In other words, it is a practical and technological impossibility for Defendants to comply with the

RPFJ as written. Defendants’ proposal, by contrast, provides sufficient time to address this

problem and maintain continuity and consistency in the frequent flyer program.3

       Finally, Plaintiffs make the extreme claim that, regardless of their effects on consumers,

the codesharing and frequent flyer agreements must be “cancelled ‘in order that the ground may




3
  Although Plaintiffs now appear to acknowledge that the NEA’s termination provisions should
govern the NEA’s unwinding, at least as to activities prior to the injunction, see Dkt. 358-1 at
IV.A; Dkt. 358 at 4; they have no answer to the fundamental problem that the RPFJ appears to
demand that Defendants honor bookings made before the Frequent Flyer Cutoff Date for travel in
the future, while at the same time, under Section III.C, invalidating the compensation mechanisms
for those flights.
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be cleansed.’” Dkt. 353 at 8-9 (quoting United States v. Bausch & Lomb Optical Co., 321 U.S.

707, 724 (1944)). But the sole case Plaintiffs cite in support of such “cleansing” is worlds apart

from this one, having involved a concealed price-fixing conspiracy. See Bausch, 321 U.S. at 708-

17. There, the “otherwise valid” agreements “came into existence as a patch upon [the] illegal

system of distribution” at issue. Id. at 724 (quoting United States v. Bausch & Lomb Optical Co.,

45 F. Supp. 387, 399 (S.D.N.Y. 1942)). Here, by contrast, the codesharing and frequent flyer

agreements are routine features of the industry, see Dkt. 344 at 90 n.112, that do nothing to further

the allegedly illegal scheme. There is no sensible reason to invalidate them while Defendants

negotiate new agreements.4

II.    DEFENDANTS SHOULD NOT BE BARRED FROM ENTERING INTO
       AGREEMENTS WITH OTHER DOMESTIC CARRIERS THAT PROVIDE FOR
       REVENUE SHARING OR COORDINATION OF ROUTES OR CAPACITY.

       Plaintiffs argue that their proposed two-year ban on “substantially similar” agreements

involving revenue sharing or coordination of routes or capacity is necessary to provide a “‘cooling

off’ period.” Dkt. 353 at 11. But Plaintiffs cite no case in support of such a period. Id. And the

injunction essentially treats revenue sharing and capacity coordination as per se violations of the

antitrust laws that must be enjoined regardless of their effects on any relevant market. Plaintiffs

identify no case which is even remotely similar.5




4
  Plaintiffs argue that, just because something is a less restrictive alternative, that does not mean it
is lawful. Dkt. 358 at 3 n.1. But the key point is that Plaintiffs never tried to establish—and this
Court never held—that Defendants’ codesharing and frequent flyer agreements were unlawful.
5
  The cases Plaintiffs cite prohibited clearly defined conduct of the “same type or class” as the
unlawful acts committed. Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 132 (1969);
see, e.g., United States v. U.S. Gypsum Co., 340 U.S. 76, 90 (1950) (extending injunction to
prohibit price fixing in the “western territory” of the United States as well as the “eastern territory”
because of the “close similarity” between violations in each part of the country).
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       Moreover, Plaintiffs have no justification for the vague and overbroad nature of their

prohibition. The RPFJ does not define “revenue sharing” or “substantially similar,” leaving

Defendants to guess at whether any new agreement would violate this provision. But both the law

and “basic fairness require[] that those enjoined receive explicit notice of precisely what conduct

is outlawed.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974); see Fed. R. Civ. P. 65(d)(1)(B)-(C)

(injunction must “state its terms specifically” and “describe in reasonable detail . . . the act or acts

restrained or required”). As phrased, Plaintiffs’ proposal could be read as prohibiting even the

routine compensation that is part of every codesharing agreement. But such an interpretation

would directly contradict Plaintiffs’ recognition that Defendants can enter new codesharing

agreements so long as they comply with the notice procedures.

III.   THE COURT SHOULD NOT IMPOSE A FIVE-YEAR MONITOR.

       Courts regularly reject requests for monitors, see Dkt. 354 at 18-20 (collecting cases), and

Plaintiffs cite no comparable case in which a court has appointed a monitor where the parties had

proactively approached federal regulators prior to implementing the challenged agreement.

       Instead, Plaintiffs rely primarily on United States v. Apple, but that case only goes to show

how extreme Plaintiffs’ request is here. See Dkt. 353 at 16. Apple was a concealed conspiracy

case in which the district court concluded that Apple “orchestrate[d] a price-fixing scheme that

significantly raised the prices of E-Books” and where the evidence showed publishers meeting in

proverbial smoke-filled rooms to reach agreement. United States v. Apple Inc., 992 F. Supp. 2d

263, 268 (S.D.N.Y. 2014), aff’d, 787 F.3d 131 (2d Cir. 2015). It was not a case, like this one, in

which the parties voluntarily engaged with regulators in an attempt to design a lawful agreement

that benefits consumers. Even so, the district court in Apple ordered a monitorship of just two

years—one-fifth the length requested by Plaintiffs there and less than half the length requested

here. Id. at 270; see United States v. Apple, Inc., No. 12-cv-2826 (S.D.N.Y. Aug. 2, 2013), Dkt.
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329-1 at 10-13, 16 (Plaintiffs’ initial request for 10-year monitor). There is no reason to grant any

monitorship, let alone one of more than twice of the length of that in Apple—especially when both

sides agree that a wind-down can be completed in a number of months.

IV.    DEFENDANTS SHOULD NOT BE REQUIRED TO NOTIFY THE DOJ PRIOR TO
       ENTERING INTO AGREEMENTS WITH OTHER DOMESTIC CARRIERS.

       Plaintiffs contend that a five-year notice period is warranted due to Defendants’ “track

record” with respect to the NEA. Dkt. 353 at 14. But that track record shows that Defendants

engaged with federal regulators early and in good faith. There is no reason to believe Defendants

would behave differently in the future. Indeed, federal law already requires notice to and

cooperation with the DOT. See, e.g., 49 U.S.C. § 41720(b) (requiring airlines to submit to DOT

“a complete copy of [any] joint venture agreement” at least 30 days before the agreement takes

effect). This Court should not impose substantial additional burdens and waiting periods, which

will only hamstring Defendants’ ability to compete with other airlines and pursue agreements that

benefit consumers.6

                                         CONCLUSION

       The Court should reject Plaintiffs’ RPFJ and enter Defendants’ proposed final judgment.




6
 Regardless of whether the notice provisions extend to agreements with any Domestic Air Carrier
or just the other Defendant, the Court should require only that Defendants “substantially comply[]
with” any Civil Investigative Demand. Dkt. 354-2 (Defendants’ [Proposed] Final Judgment and
Order Entering Permanent Injunction) at V.C. “Substantial compliance” is the standard imposed
by the Hart-Scott-Rodino Act, 15 U.S.C. § 18a(e)(B)(i)(II), and Plaintiffs offer no reason for
imposing a higher standard here. Cf. Dkt. 353 at 14 (analogizing to that Act).
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Dated: June 14, 2023                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing.

                                                      /s/ Alfred C. Pfeiffer
                                                      Alfred C. Pfeiffer




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